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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                      No. 17-20274

             Plaintiff,                         Hon. Bernard A. Friedman

       v.

 D-1 JUMANA NAGARWALA,
 D-2 FAKHRUDDIN ATTAR,
 D-3 FARIDA ATTAR,
 D-4 TAHERA SHAFIQ,
 D-5 FARIDA ARIF,
 D-6 FATEMA DAHODWALA,
 D-7 HASEENA HALFAL,
 D-8 ZAINAB HARIYANAWALA,


             Defendants.
                                        /

           GOVERNMENT’S RESPONSE TO DEFENDANTS’
     MOTION TO DETERMINE ADMISSABILITY OF CO-CONSPIRATOR
        STATEMENTS AND PARTY ADMISSIONS BEFORE TRIAL

       For the reasons set forth in the attached brief, this Court should deny

 Defendants’ Motion to Determine Admissibility of Co-Conspirator Statements and

 Party Admissions Before Trial.




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                                           Respectfully submitted,


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                       UNITED STATES DISTRICT COURT
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 UNITED STATES OF AMERICA,                      No. 17-20274

              Plaintiff,                             Hon. Bernard A. Friedman

       v.

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 D-2 FAKHRUDDIN ATTAR,
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 D-7 HASEENA HALFAL,
 D-8 ZAINAB HARIYANAWALA,

              Defendants.
                                            /

         BRIEF IN SUPPORT OF GOVERNMENT’S RESPONSE
  TO DEFENDANTS’ MOTION TO DETERMINE ADMISSABILITY OF CO-
 CONSPIRATOR STATEMENTS AND PARTY ADMISSIONS BEFORE TRIAL
                            (D. 325)


       The defendants in this case have filed a motion requesting that the Court hold

 a pretrial hearing to determine the admissibility of alleged co-conspirator statements

 that the government intends to introduce at trial. The United States respectfully

 opposes this motion. Such pretrial hearings are not required by the Federal Rules of

 Evidence, not required by any discovery rule, and would constitute a significant

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 waste of time and resources for both the Court and the United States. The preferred

 practice in this Circuit is for the trial court to admit the statements of co-conspirators

 conditionally, subject to the government establishing the elements of admissibility

 under Federal Rule of Evidence 801(d)(2)(E) by a preponderance of the evidence at

 the conclusion of the government’s case. That common practice should be employed

 here, and Defendants’ motion should be denied.

                                      Background

       The Third Superseding Indictment in this case, returned on September 12,

 2018, alleges, among other things, that all of the defendants conspired to commit

 female genital mutilation in violation of 18 U.S.C § 371, that certain of the

 defendants conspired to obstruct justice in violation of 18 U.S.C § 1512(k), and

 that defendant Nagarwala entered into a conspiracy to have others travel for the

 purpose of engaging in illicit sexual conduct, in violation of 18 U.S.C. § 2423(h).

 To prove these charges, the government intends to rely in part on the statements of

 co-conspirators made during and in furtherance of these conspiracies. Such co-

 conspirator declarations are not hearsay and are admissible pursuant to F.R.E.

 801(d)(2)(E). The statements the government will seek to introduce under this

 Rule take various forms. Some of the relevant co-conspirator declarations will be

 excerpts of calls intercepted during the wiretaps of Jumana Nagarwala and

 Fakhruddin Attar’s telephones. Other such co-conspirator declarations are in the
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 form of text messages exchanged between co-conspirators during the course of the

 relevant conspiracies. The government anticipates that still other co-conspirator

 declarations will be presented through cooperating witnesses, who will recount

 conversations with co-conspirators that fall within the ambit of Rule 801(d)(2)(E).

 As is typical in large-scale, multi-defendant conspiracy cases, a substantial portion

 of the government’s case will consist of such evidence.

       The defendants in this case, through the instant motion, ask the Court to

 conduct a pretrial hearing to assess the admissibility of all of these statements.

 Such a procedure would likely require the government to call numerous witnesses

 and to present much of its substantive proof at the hearing. The case law

 occasionally refers to such hearings as “mini-trials”; in this case, the “mini”

 designation may be optimistic. The government estimates that a pre-trial hearing

 for this purpose would likely take several weeks, and would substantially replicate

 large portions of the government’s proofs at trial.

                                        Analysis

       The parties agree on the essential elements of admissibility for co-

 conspirator declarations pursuant to Rule 801(d)(2)(E). Those elements are: (1)

 that a conspiracy existed; (2) that the defendant was a member of the conspiracy;

 and (3) that the statement was made by a conspirator in the course of and in

 furtherance of the conspiracy. See United States v. Enright, 579 F.2d 980 (6th Cir.
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 1978). The court must find these three elements have been met using a

 preponderance standard, and may use the statements themselves in making that

 decision. Bourjaily v. United States, 483 U.S. 171.

       The only substantial issue presented in the defendant’s motion is when the

 court will make its finding on these elements. The Sixth Circuit has long held that

 the trial court has the discretion to admit co-conspirator testimony conditionally,

 reserving its decision as to whether the government has satisfied those three

 elements until the close of the government’s case. See United States v. Vinson, 606

 F.2d 149, 152 (6th Cir. 1979). The conditional-admission procedure set forth in

 Vinson has become well established in the Circuit, and is the preferred method for

 determining the admissibility of co-conspirator statements. See, e.g. United States

 v. Holloway, 740 F. 1373, 1375 n.2 (recognizing option is “firmly entrenched in

 this circuit’s practice.”); United States v. Johnston, 2013 WL 3423268, at *3 (E.D.

 Ky 2013) (conditionally admitting co-conspirator statements “appears to be most

 widely used in this circuit”); United States v. Driver, 2011 WL 761496 at *6 (E.D.

 Mich. 2011 (“It appears the general practice is to conditionally allow the admission

 of co-conspirator statements to prove the charged conspiracy.”) ; United States v.

 Coffman, 2010 WL 3924671 (E.D. Ky. 2011) (conditional admission is “an

 implied preference in this Circuit . . . .”). In the Vinson case, the Sixth Circuit

 noted that the process of holding a “mini-trial” outside of the presence of the jury
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 to determine the admissibility of co-conspirator statements has been criticized as

 “burdensome, time consuming, and uneconomic.” Vinson, 606 F.2d at 152. A

 mini-trial in a case such as this one, with several charged conspiracies and

 numerous statements from multiple co-conspirators made in furtherance of those

 conspiracies, would take a substantial amount of time for the parties and the Court.

 The government would then have to present the same evidence for a second time at

 the trial of this matter. The warning in Vinson about the “burdensome, time

 consuming, and uneconomic” nature of pretrial Enright hearings applies with

 special force in a complex case such as this one, as it would involve the duplicative

 presentation of a great deal of testimony and evidence.

       Given the nature of this case, the most efficient and appropriate time for

 determining the admissibility of statements under Rule 801(d)(2)(E) is at the close

 of the government’s proofs. Defendants often move for a judgment of acquittal

 pursuant to Rule 29 of the Federal Rules of Criminal Procedure at the conclusion

 of the government’s case. Note that the first two elements of the Enright test –

 whether the government has proven a conspiracy and whether the defendant was a

 member of the conspiracy – are identical to the question the Court would need to

 decide in determining whether to dismiss the conspiracy charge as to any particular

 defendant. See 6th Cir. Pattern Jury Instruction 3.01A (elements of basic conspiracy

 charge). The only difference in the inquiry is the standard of proof. If the Court
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 determines that the government’s proofs are such that “no rational trier of fact

 could find the essential elements of the crime beyond a reasonable doubt,” then the

 conspiracy count would be dismissed, and the question of whether the government

 established the existence of a conspiracy and the participation of the defendant by a

 preponderance is moot. A pretrial determination of the Enright factors, using a

 lower standard of proof, is largely duplicative of the determination the court will

 have to make at the Rule 29 stage. It is a waste of the Court’s time and resources

 to evaluate this material first under a preponderance standard at a pretrial hearing,

 and later under the applicable Rule 29 standard, when the relevant assessments

 could be made at one time at the conclusion of the government’s case.

       The third element of the Enright test, that the statements were made during

 and in furtherance of the conspiracy, is also better assessed at the conclusion of the

 government’s case at trial. The Court will then have the opportunity to evaluate

 the nature of the co-conspirator statements in the context of the entirety of the

 government’s case. Some of the co-conspirator statements may be admissible

 against the defendants on other bases, such as that the statements are non-

 assertions or fit within another hearsay exception. The potentially independent

 admissibility of such statements makes a pretrial hearing even more unnecessary;

 as one court noted, “to the extent these statements are independently admissible

 against defendants, this further confirms that holding a pre-trial hearing on whether
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 the statements also qualify as co-conspirator statements would be a waste of time

 and resources.” United States v. Norwood, 2014 WL 1795560 at *3 (E.D. Mich.

 2014).

       Defendants further argue that the government may seek to introduce co-

 conspirator statements that implicate Bruton v United States, 391 U.S. 123 (1968),

 which generally bars the use of a co-defendant’s co-implicating confession against

 a defendant. Defendants assert that the introduction of such statements would

 necessitate a mistrial. However, it is well established that the Bruton rule does not

 apply to non-testimonial statements by made by co-conspirators that are otherwise

 admissible under Rule 801(d)(2)(E). See United States v. Kendricks, 623 F.2d

 1165, 1167 (6th Cir. 1980) (rejecting defendant's argument that Bruton prohibits

 co-conspirator's statements); Campbell v. United States, 415 F.2d 356, 357 (6th

 Cir. 1969) (“[t]he co-conspirator exception to the hearsay rule is a narrow but well-

 established exception [to Bruton] which has been frequently sanctioned and

 scrupulously applied by the federal courts.”); United States v. Alcantar, 271 F.3d

 731, 739 (8th Cir. 2001) (holding that “Bruton does not apply where the hearsay

 statement is otherwise admissible under Rule 801(d)(2)(E)”).

       The defendants’ motion for a pretrial hearing appears designed to give the

 defendants an opportunity to circumvent the rules of pretrial discovery and to

 obtain a detailed preview of the government’s case. Such a hearing is contrary to
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  the legislative intent of Rule 16 of the Federal Rules of Criminal Procedure and the

  Jencks Act, 18 U.S.C. § 3500. The defendants are not entitled to pretrial

  depositions of the government’s witnesses, nor are they entitled to a dress rehearsal

  of the government’s case at trial. The Court should not hold an unnecessary,

  lengthy hearing to give them an opportunity to obtain that to which they are not

  entitled.

                                      Conclusion

         For the foregoing reasons, the government respectfully requests that

  defendants’ motion be denied.


                                                Respectfully submitted,


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  Dated: September 27, 2018


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                             CERTIFICATE OF SERVICE

        I certify that on September 27, 2018, I electronically filed this motion response

  for the United States with the Clerk of the United States District Court for the Eastern

  District of Michigan using the ECF system, which will send notification of such

  filing to counsel of record.



                                                 s/John K. Neal
                                                 Assistant United States Attorney




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